                        Case 15-21005                          Doc 1           Filed 06/17/15                     Entered 06/17/15 14:19:32                              Desc Main
B1 (Official Form 1)(04/13)
                                                                                  Document                        Page 1 of 6
                                                  United States Bankruptcy Court
                                                              Northern District of Illinois                                                                           Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                    Name of Joint Debtor (Spouse) (Last, First, Middle):
  Butler, Michael S


All Other Names used by the Debtor in the last 8 years                                                         All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                    (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                                  Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                                  (if more than one, state all)
  xxx-xx-0441
Street Address of Debtor (No. and Street, City, and State):                                                    Street Address of Joint Debtor (No. and Street, City, and State):
  5709 Kingston Ave
  Lisle, IL
                                                                                              ZIP Code                                                                                        ZIP Code
                                                                                            60532
County of Residence or of the Principal Place of Business:                                                     County of Residence or of the Principal Place of Business:
  DuPage
Mailing Address of Debtor (if different from street address):                                                  Mailing Address of Joint Debtor (if different from street address):


                                                                                              ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                          Nature of Business                                              Chapter of Bankruptcy Code Under Which
          (Form of Organization) (Check one box)                                  (Check one box)                                                 the Petition is Filed (Check one box)
     Individual (includes Joint Debtors)                               Health Care Business                                    Chapter 7
     See Exhibit D on page 2 of this form.                             Single Asset Real Estate as defined                                                     Chapter 15 Petition for Recognition
                                                                                                                               Chapter 9
     Corporation (includes LLC and LLP)                                in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
                                                                                                                               Chapter 11
     Partnership                                                       Railroad
                                                                                                                               Chapter 12                      Chapter 15 Petition for Recognition
     Other (If debtor is not one of the above entities,                Stockbroker
                                                                                                                               Chapter 13                      of a Foreign Nonmain Proceeding
     check this box and state type of entity below.)                   Commodity Broker
                                                                       Clearing Bank
                                                                       Other                                                                               Nature of Debts
                   Chapter 15 Debtors
                                                                              Tax-Exempt Entity                                                             (Check one box)
 Country of debtor's center of main interests:
                                                                             (Check box, if applicable)                       Debts are primarily consumer debts,                 Debts are primarily
                                                                       Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
 Each country in which a foreign proceeding
 by, regarding, or against debtor is pending:                          under Title 26 of the United States                    "incurred by an individual primarily for
                                                                       Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                       Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                         Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                      Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                      Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                      are less than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
     Form 3A.
                                                                                                 Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                     A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                      Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                      in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                       THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-          1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999           5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1         to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million       million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001      $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1         to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million       million      million        million       million
                 Case 15-21005                 Doc 1          Filed 06/17/15           Entered 06/17/15 14:19:32                             Desc Main
B1 (Official Form 1)(04/13)
                                                                 Document              Page 2 of 6                                                                         Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Butler, Michael S
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Terence M. Fenelon                                   June 17, 2015
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Terence M. Fenelon

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                        Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                   the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                   Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                  Case 15-21005                  Doc 1          Filed 06/17/15              Entered 06/17/15 14:19:32                         Desc Main
B1 (Official Form 1)(04/13)
                                                                   Document                 Page 3 of 6                                                                  Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Butler, Michael S
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this                I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                           is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and            proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                             (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Michael S Butler                                                                 X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Michael S Butler

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 17, 2015
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Terence M. Fenelon
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Terence M. Fenelon 3126087                                                               debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Law Office of Terence Fenelon
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      208 N. West St
      Wheaton, IL 60187                                                                        Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                             Email: tmf523@comcast.net
      630-868-3842 Fax: 630-690-5359
     Telephone Number
     June 17, 2015
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both. 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                Case 15-21005                    Doc 1          Filed 06/17/15       Entered 06/17/15 14:19:32    Desc Main
                                                                   Document          Page 4 of 6


B 1D (Official Form 1, Exhibit D) (12/09)
                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Michael S Butler                                                                         Case No.
                                                                                  Debtor(s)          Chapter     13



                  EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                  CREDIT COUNSELING REQUIREMENT

        Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.

        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have a
certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy of
any debt repayment plan developed through the agency.

          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do not
have a certificate from the agency describing the services provided to me. You must file a copy of a certificate
from the agency describing the services provided to you and a copy of any debt repayment plan developed
through the agency no later than 14 days after your bankruptcy case is filed.

          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]

       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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                  Case 15-21005                        Doc 1         Filed 06/17/15      Entered 06/17/15 14:19:32   Desc Main
                                                                        Document         Page 5 of 6


B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                    Page 2

                        Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental
             deficiency so as to be incapable of realizing and making rational decisions with respect to financial
             responsibilities.);
                        Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
             unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
             through the Internet.);
                        Active military duty in a military combat zone.

         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.

             I certify under penalty of perjury that the information provided above is true and correct.

                                                        Signature of Debtor:         /s/ Michael S Butler
                                                                                     Michael S Butler
                                                        Date:        June 17, 2015




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    Case 15-21005   Doc 1   Filed 06/17/15   Entered 06/17/15 14:19:32   Desc Main
                               Document      Page 6 of 6

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                      1stprogress/1stequity/
                      P.o. Box 84010
                      Columbus, GA 31908


                      American General Financial/Springleaf Fi
                      Springleaf Financial/Attn: Bankruptcy De
                      Po Box 3251
                      Evansville, IN 47731


                      Ibrahin
                      c/o Edgerton & Edgerton
                      125 Wood ST. P.O. Box 218
                      West Chicago, IL 60186


                      IC System
                      Attn: Bankruptcy
                      444 Highway 96 East; Po Box 64378
                      St. Paul, MN 55164


                      Matco Tools
                      Attn: Carrie
                      4403 Allen Rd
                      Stow, OH 44224
